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                                                             U.s;DISTRICT cquR i
                                                               SAVAMHAH DIV.
               IN THE UNITED STATES DISTRICT COUR'^ni?^^                PH12^ 57
                  THE SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION
                                                                           GA

UNITED STATES OF AMERICA,


V.                                                 Case No.    CR517-03-04


JOHNNY DEWAYNE MARTIN,


                  Defendant.




      Tom A. Peterson, IV, coiinsel of record for defendant in the

above-styled cases has moved for leave of absence.               The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.     The    Court,    however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and               trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.
                               yt/J'.
      SO ORDERED this XS— day of May 2017


                                        WILLIAM T. MOORE, JR.
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
